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     KEVIN SPACEY FOWLER
  10
  11
                          UNITED STATES DISTRICT COURT
  12
                        CENTRAL DISTRICT OF CALIFORNIA
  13
  14   JOHN DOE, an individual,             )   Case No.: 2:19-cv-00750-RSWL (SSx)
                                            )
  15                 Plaintiff,             )   NOTICE OF STATEMENT
  16                                        )   NOTING PLAINTIFF’S DEATH
              vs.                           )
  17                                        )   Complaint Filed: September 27, 2018
  18   KEVIN SPACEY FOWLER, an              )
       individual, and DOES 1-9, inclusive. )
  19                                        )
  20                 Defendant.             )
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                     NOTICE OF STATEMENT NOTING PLAINTIFF’S DEATH
Case 2:19-cv-00750-RSWL-SS Document 54 Filed 09/17/19 Page 2 of 3 Page ID #:617

   1 TO THE COURT, PLAINTIFF’S ATTORNEYS OF RECORD, AND ANY
   2 SUCCESSOR OR LEGAL REPRESENTATIVE OF PLAINTIFF:
   3        PLEASE TAKE NOTICE that on September 11, 2019, counsel for plaintiff
   4 John Doe (“Plaintiff”) informed counsel for defendant Kevin Spacey Fowler that
   5 Plaintiff had “recently passed.” No further information or details have been given to
   6 Mr. Fowler’s counsel, but Plaintiff’s counsel stated they intend to notify the Court with
   7 additional information at an appropriate time in the future. This statement is given
   8 under Federal Rule of Civil Procedure 25.
   9
  10 Dated: September 17, 2019                      KELLER/ANDERLE LLP
  11                                         By:    /s/ Jennifer L. Keller
  12                                                Jennifer L. Keller
                                                    Chase A. Scolnick
  13                                                Jay P. Barron
  14                                                Attorneys for Defendant
                                                    Kevin Spacey Fowler
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                      NOTICE OF STATEMENT NOTING PLAINTIFF’S DEATH
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   1                                  PROOF OF SERVICE
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       STATE OF CALIFORNIA, COUNTY OF ORANGE
   3
           I am over the age of 18 and not a party to the within action. My business
   4
     address is 18300 Von Karman Avenue, Irvine, California 92612-1057. On
   5 September 17, 2019, I served the foregoing document described as
   6
                NOTICE OF STATEMENT NOTING PLAINTIFF’S DEATH
   7
       on the following-listed attorneys who are not on the list to receive e-mail notices for
   8
       this case (who therefore require manual notice) by the following means of service:
   9
             SERVED BY U.S. MAIL: There are currently no individuals on the list to
  10
       receive mail notices for this case.
  11
            SERVED BY CM/ECF. I hereby certify that, on September 17, 2019, I
  12
     electronically filed the foregoing with the Clerk of Court using the CM/ECF system.
  13 The filing of the foregoing document will send copies to the following CM/ECF
  14 participants:
  15          The following are those who are currently on the list to receive e-mail
  16          notices for this case.

  17          Genie Harrison, genie@genieharrisonlaw.com
  18          Amber Phillips, amber@genieharrisonlaw.com
              Mary Olszewska, mary@genieharrisonlaw.com
  19
  20
           I declare under penalty of perjury under the laws of the United States that the
  21 foregoing is true and correct. Executed on September 17, 2019 at Irvine, California.
  22
  23                                                 /s/ Courtney L. McKinney
  24                                                       Courtney L. McKinney

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                                         PROOF OF SERVICE
